                         UNITED STATES BANKRUPTCY COURT
                          EASTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION

In re:                                           §          Case No. 20-51066-mar
                                                 §
HFV LIQUIDATING TRUST,                           §          Chapter 11
                                                 §
            Debtor.                              §          Honorable    Mark    A.   Randon

                                                 §

                            CERTIFICATE OF NON RESPONSE

         Now comes Sheldon Stone (the “Liquidating Trustee”), solely as Liquidating Trustee of

the HFV Liquidating Trust (the “Liquidating Trust”), through his undersigned counsel, and

hereby certifies to the Court that he did not receive a response to his Motion to Establish

Procedures Governing Avoidance Action Adversary Proceeding served on September 16, 2020.

Mr. Stone filed and sent a Notice of the Motion to Establish Procedures Governing Avoidance

Action Adversary Proceeding to Creditors contemporaneously with the Motion.

         WHEREFORE, Liquidating Trustee Sheldon Stone requests that this Court enter an

Order Establishing Procedures Governing Avoidance Action Adversary Proceeding.

Dated: October 5, 2022                      Respectfully submitted,

                                            By: /s/ Zachary R. Tucker
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                                            Trustee of the HFV Liquidating Trust




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